                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE EASTERN.DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                  NO. 5:18-cv-00211-D


TAYLOR FISSE and BRYAN REES, individually           )
and on behalf of all others similarly situated,     )
                                                    )
                     Plaintiffs,                    )
                                                    ) ORDER ON CONSENT MOTION
              v.                                    ) FOR EXTENSION OF PLEADING
                                                    ) DEADLINES
AUDIBLE, INC.,                                      )
                                                    )
                     Defendant.                     )
______________________________ )
       Good cause appearing, and pursuant to Local Civil Rule 6.1, defendant's motion is

hereby GRANTED, and the Court adopts the following schedule:


                             Deadline                                       Due Date

Plaintiffs Fisse and Rees to file Third Amended Complaint                 June 22, 2018


Defendant's ~~xpected response (Motion to Compel Arbitration as to
                                                                          July 6, 2018
both Ms. Fisse and Mr. Rees)


Plaintiffs' Opposition to Motion to Compel Arbitration                    July 27, 2018


Defendant's Reply re Motion to Compel Arbitration                       August 10, 2018



       SO ORDERED. This __2j_ day of May 2018.




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